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 2                       UNITED STATES DISTRICT COURT
 3                      CENTRAL DISTRICT OF CALIFORNIA
 4

 5    CASEY BLOTZER, on behalf of               )     Case No. 2:13-cv-00675-JAK-JCG
 6
      herself and all others similarly situated )
                                                )     ORDER GRANTING JOINT
 7    Plaintiff,                                )     STIPULATION TO DISMISS
 8                                              )     INDIVIDUAL CLAIMS WITH
             vs.                                )     PREJUDICE AND PUTATIVE
 9
                                                )     CLASS CLAIMS WITHOUT
10                                              )     PREJUDICE JS-6
      DURA MEDIC, LLC, et al.,                  )
11
                                                )
12    Defendants.                               )
13

14          IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
15    to dismiss the individual claims with prejudice and the putative class claims
16    without prejudice pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii),
17    the entire case is dismissed with prejudice. Each party shall bear their own costs
18    and fees.
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                                            Dated this 5th day of December, 2013.
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                                              The Honorable John A. Kronstadt

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                                          Order to Dismiss - 1
